Case No. 1:24-cv-02542-DDD-TPO       Document 1     filed 09/16/24   USDC Colorado   pg
                                        1 of 11




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:24-cv-2542

 ALYSSA SCHUKAR
     Plaintiff,

 v.

 ALLSIDES TECHNOLOGIES, INC. d/b/a ALLSIDES, and
 DOES 1 through 10 inclusive, whose true names are unknown.

        Defendants.


      PLAINTIFF’S COMPLAINT FOR COPYRIGHT INFRINGMENT AND
                     DEMAND FOR JURY TRIAL




        Plaintiff, Alyssa Schukar, alleges as follows:

                            JURISDICTION AND VENUE

        1.       This is a civil action seeking damages and injunctive relief for

 copyright infringement under the Copyright Act of the United States, 17 U.S.C.

 § 101 et seq.

        2.       This Court has subject matter jurisdiction over Plaintiff’s claim

 for copyright infringement pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §

 1338(a).
                                          1
                                      COMPLAINT
Case No. 1:24-cv-02542-DDD-TPO       Document 1      filed 09/16/24   USDC Colorado      pg
                                        2 of 11




       3.     This court has personal jurisdiction over Defendant because Defendant’s

 acts of infringement complained of herein occurred in the state of Colorado,

 Defendant’s acts of infringement were directed towards the state of Colorado,

 Defendant caused injury to Plaintiff within the state of Colorado, and Defendant has

 a physical presence in the state of Colorado.

       4.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)-(d)

 and 1400(a) in that this is the judicial district in which a substantial part of the acts

 and omissions giving rise to the claims occurred.

                                     PARTIES
       5.     Plaintiff Alyssa Schukar (“Schukar”) is an individual and professional

 photographer by trade.

       6.     Defendant, AllSides Technologies, Inc. d/b/a AllSides(“AllSides” or

 “Defendant”) is a Delaware corporation with a principal place of business in Denver,

 Colorado.

       7.     Plaintiff is unaware of the true names and capacities of the Defendants

 sued herein as DOES 1 through 10, inclusive, and for that reason, sues such

 Defendants under such fictitious names. Plaintiff is informed and believes and, on

 that basis, alleges that such fictitiously named Defendants are responsible in some

 manner for the occurrences herein alleged, and that Plaintiff’s damages as herein

 alleged were proximately caused by the conduct of said Defendants. Plaintiff will


                                          2
                                      COMPLAINT
Case No. 1:24-cv-02542-DDD-TPO       Document 1      filed 09/16/24   USDC Colorado     pg
                                        3 of 11




 seek to amend the complaint when the names and capacities of such fictitiously

 named Defendants are ascertained. As alleged herein, “Defendant” shall mean all

 named Defendants and all fictitiously named Defendants.

         8.    For the purposes of this Complaint, unless otherwise indicated,

 “Defendant” includes all agents, employees, officers, members, directors, heirs,

 successors, assigns, principals, trustees, sureties, subrogates, representatives and

 insurers of the Defendants named in this caption.

                             FACTUAL ALLEGATIONS
         9.    Plaintiff Schukar is a professional photographer specializing in editorial

 photography and photojournalism.

         10.   Schukar’s work has been featured in top publications such as New York

 Times, Wall Street Journal, Chicago Magazine, The Smithsonian Magazine, and

 more.

         11.   Schukar’s portfolio can be viewed on her website, alyssaschukar.com.

         12.   Schukar is the author and rights holder to four images which are the

 subject of this suit (“Gun Rally Photograph,” “Duckworth Photograph,” “Harvey

 Photograph,” and “Pelosi Photograph.”).

         13.   The Gun Rally Photograph, the Duckworth Photograph, the Harvey

 Photograph, and the Pelosi Photograph shall be referred to jointly as the Infringed

 Photographs.


                                          3
                                      COMPLAINT
Case No. 1:24-cv-02542-DDD-TPO        Document 1    filed 09/16/24   USDC Colorado     pg
                                         4 of 11




          14.   Attached hereto as Exhibit A is a true and correct copy of the Gun Rally

 Photograph.

          15.   Attached hereto as Exhibit B is a true and correct copy of the

 Duckworth Photograph.

          16.   Attached hereto as Exhibit C is a true and correct copy of the Harvey

 Photograph.

          17.   Attached hereto as Exhibit D is a true and correct copy of the Pelosi

 Photograph.

          18.   Alyssa Schukar registered the Gun Rally Photograph with the United

 States         Copyright        Office        under        Registration       Number

 VA 2-207-314 with an Effective Date of Registration of May 15, 2020.

          19.   Attached hereto as Exhibit E is a true and correct copy of the

 Registration Certificate VA 2-207-314.

          20.   Alyssa Schukar registered the Duckworth Photograph with the United

 States         Copyright        Office        under        Registration       Number

 VA 2-125-103 with an Effective Date of Registration of January 24, 2018.

          21.   Attached hereto as Exhibit F is a true and correct copy of the

 Registration Certificate VA 2-125-103.

          22.   Alyssa Schukar registered the Harvey Photograph with the United

 States         Copyright        Office        under        Registration       Number

                                           4
                                       COMPLAINT
Case No. 1:24-cv-02542-DDD-TPO         Document 1     filed 09/16/24    USDC Colorado       pg
                                          5 of 11




 VA 2-089-315 with an Effective Date of Registration of January 24, 2024.

        23.     Attached hereto as Exhibit G is a true and correct copy of the

 Registration Certificate VA 2-089-315.

        24.     Alyssa Schukar registered the Pelosi Photograph with the United States

 Copyright Office under Registration Number VA 2-276-439 with an Effective Date

 of Registration of October 20, 2021.

        25.     Attached hereto as Exhibit H is a true and correct copy of the

 Registration Certificate VA 2-276-439.

        26.     According to its Website, AllSides is a news outlet which publishes

 news     stories   along   with   a    rating   of   political     bias.    See    generally

 www.allsides.com/about.

        27.     Allsides is currently listed as “noncompliant” with the Colorado

 Secretary of State.

        28.     Attached hereto as Exhibit I is a true and correct screenshot of the

 Colorado Secretary of State website showing Allsides’ current status.

        29.     AllSides    manages,      operates,    and        controls    the    website

 www.allsides.com/ (“Defendant’s Website”).

        30.     Despite Allsides noncompliant business status, Defendant appears to be

 conducting business, as their website remains active and updated as of the time of

 this filing.

                                           5
                                       COMPLAINT
Case No. 1:24-cv-02542-DDD-TPO     Document 1    filed 09/16/24   USDC Colorado   pg
                                      6 of 11




       31.    Attached hereto as Exhibit J is a true and correct screenshot of

 Defendant’s Website’s home page as of September 4, 2024, showing Defendant’s

 Website is still active.

       32.    On information and belief, Defendant’s Website generates content in

 order to attract user traffic to the Defendant’s Website and generate profit and

 revenue for the company and its owner(s) through such user traffic.

       33.    On or about March 5, 2024, Alyssa Schukar discovered her Gun Rally

 Photograph copied and published within an article titled “How Trump’s Worldview

 Is Ingrained in State and Local Republicans” (“Gun Rally Infringement”).

       34.    Attached hereto as Exhibit K are true and correct screenshots of

 Defendant’s Website showing the Gun Rally Infringement.

       35.    On or about March 5, 2024, Alyssa Schukar discovered her Duckworth

 Photograph copied and published within an article titled “Tammy Duckworth Is

 Nothing and Everything Like Joe Biden” (“Duckworth Infringement”).

       36.    Attached hereto as Exhibit L are true and correct screenshots of

 Defendant’s Website showing the Duckworth Infringement.

       37.    On or about March 5, 2024, Alyssa Schukar discovered her Harvey

 Photograph copied and published within an article titled “In Houston, Anxiety and

 Frantic Rescues as Floodwaters Rise” (“Harvey Infringement”).

       38.    Attached hereto as Exhibit M are true and correct screenshots of

                                        6
                                    COMPLAINT
Case No. 1:24-cv-02542-DDD-TPO     Document 1     filed 09/16/24   USDC Colorado    pg
                                      7 of 11




 Defendant’s Website showing the Harvey Infringement.

       39.    On or about March 5, 2023, Alyssa Schukar discovered her Pelosi

 Photograph copied and published within an article titled “Pelosi Faces Lawmakers

 Frustrated Over Loss of House Seats” (“Pelosi Infringement”).

       40.    Attached hereto as Exhibit N are true and correct screenshots of

 Defendant’s Website showing the Pelosi Infringement.

       41.    Alyssa Schukar has never at any point granted Defendant a license or

 other permission to copy, display, distribute, or otherwise use the Infringed

 Photographs on Defendant’s Website or elsewhere.

       42.    Defendant, including its employees, agents, contractors, or others over

 whom it has responsibility and control, copied and uploaded the Infringed

 Photographs to Defendant’s Website without Alyssa Schukar’s consent or

 authorization.

       43.    Schukar is informed and believes that the purpose of the use of the

 Infringed Photographs on Defendant’s Website was to make the articles on AllSides’

 website more readable or attractive by including a high-quality, professionally-

 produced photograph.

       44.    Soon after discovering the Infringed Images on Defendant’s Website,

 Alyssa Schukar, through counsel, reached out to Defendant to attempt to resolve this

 matter without court intervention, but the parties were unable to come to an

                                        7
                                    COMPLAINT
Case No. 1:24-cv-02542-DDD-TPO       Document 1     filed 09/16/24   USDC Colorado     pg
                                        8 of 11




 agreement.

       45.    On information and belief, Defendant’s use of the Infringed

 Photographs was deliberate and willful because it knew or should have known that

 it did not purchase a license to use the Infringed Photographs on Defendant’s

 Website.

                               CAUSE OF ACTION
                          COPYRIGHT INFRINGEMENT
                                17 U.S.C. § 101 et seq
       46.    Plaintiff incorporates by reference all the above paragraphs of this

 Complaint as though fully stated herein.

       47.    Plaintiff did not consent to, authorize, permit, or allow in any manner

 the said use of Plaintiff’s unique and original Infringed Photographs.

       48.    Plaintiff is informed and believes and thereon alleges that the

 Defendant willfully infringed upon Plaintiff’s copyrighted Infringed Photographs in

 violation of Title 17 of the U.S. Code, in that they used, published, communicated,

 posted, publicized, and otherwise held out to the public for commercial benefit, the

 original and unique Infringed Photographs without Plaintiff’s consent or authority

 by using the Infringed Photographs on Defendant’s Website.

       49.    As a result of Defendant’s violations of Title 17 of the U.S. Code,

 Plaintiff is entitled to any actual damages pursuant to 17 U.S.C. §504(b), or statutory

 damages pursuant to 17 U.S.C. § 504(c).

       50.    As a result of the Defendant’s violations of Title 17 of the U.S. Code,
                                         8
                                     COMPLAINT
Case No. 1:24-cv-02542-DDD-TPO      Document 1     filed 09/16/24   USDC Colorado     pg
                                       9 of 11




 the court in its discretion may allow the recovery of full costs as well as reasonable

 attorney’s fees and costs pursuant to 17 U.S.C § 505 from Defendant.

       51.    Plaintiff is also entitled to injunctive relief to prevent or restrain

 infringement of his copyright pursuant to 17 U.S.C. § 502.

       52.    Defendant(s)—including its employees, agents, contractors or others

 over whom it has responsibility and control—copied and uploaded the Infringed

 Photographs to Defendant’s Website without Alyssa Schukar’s consent or

 authorization.

       53.    AllSides (including its employees, agents, contractors or others over

 whom it has responsibility and control) willfully uploaded the Infringed Photographs

 onto Defendant’s Website because AllSides knew it did not have permission to use

 the Infringed Photographs.

                       PRAYER FOR RELIEF
 WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

    • For a finding that Defendant infringed Plaintiff’s copyright interest in

       the Infringed Photographs by copying, displaying, and distributing it

       without a license or consent;

    • For an award of actual damages and disgorgement of all of profits

       attributable to the infringement as provided by 17 U.S.C. § 504 in an

       amount to be proven or, in the alternative, at Plaintiff’s election, an

                                           9
                                       COMPLAINT
Case No. 1:24-cv-02542-DDD-TPO     Document 1     filed 09/16/24   USDC Colorado   pg
                                      10 of 11




       award for statutory damages against Defendant in an amount up to

       $150,000 for each infringement pursuant to 17 U.S.C. § 504(c),

       whichever is larger;

    • For an injunction preventing Defendant from further infringement of

       all copyrighted works of the Plaintiff pursuant to 17 U.S.C. § 502;

    • For costs of litigation and reasonable attorney’s fees against

       Defendant pursuant to 17 U.S.C. § 505;

    • For prejudgment interest as permitted by law; and

    • For any other relief the Court deems just and proper.


 Dated: September 16, 2024                    Respectfully submitted,
                                              /s/ Theodore Sell
                                              Theodore Sell, Esq.
                                              Bar No. 44571
                                              HIGBEE & ASSOCIATES
                                              3110 W Cheyenne Ave Ste 200,
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                                              Counsel for Plaintiff




                                       10
                                    COMPLAINT
Case No. 1:24-cv-02542-DDD-TPO     Document 1     filed 09/16/24   USDC Colorado      pg
                                      11 of 11




                          DEMAND FOR JURY TRIAL
       Plaintiff Alyssa Schukar hereby demands a trial by jury in the above matter.


 Dated:      September 16, 2024               Respectfully submitted,


                                              /s/ Theodore Sell
                                              Theodore Sell, Esq.
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                                       11
                                    COMPLAINT
